






MEMORANDUM OPINION

No. 04-06-00422-CR

Ignacio CANTU,

Appellant

v.

The STATE of Texas ,

Appellee

From the 226th Judicial District Court, Bexar County, Texas

Trial Court No. 2005-CR-8509

Honorable Sid L. Harle , Judge Presiding




PER CURIAM



Sitting: Catherine Stone , Justice

  Sarah B. Duncan , Justice

  Karen Angelini , Justice



Delivered and Filed: August 2, 2006



DISMISSED

 The trial court's certification in this appeal states that the case is a "plea-bargain case, and the defendant has NO right of
appeal."  Rule 25.2(d) of the Texas Rules of Appellate Procedure provides, "[t]he appeal must be dismissed if a certification
that shows the defendant has a right of appeal has not been made part of the record under these rules."  Tex. R. App. P.
25.2(d).  On July 19, 2006, appellant's appellate counsel notified this court that appellant does not have a right to appeal in
this case.  Counsel further indicated that appellant would not file an amended trial court certification showing that he had
the right of appeal.  See Tex. R. App. P. 25.2(d); 37.1; see also Daniels v. State, 110 S.W.3d 174, 177 (Tex. App.--San
Antonio 2003, no pet.).  In light of the record presented, we agree with appellant's counsel that Rule 25.2(d) requires this
court to dismiss this appeal.  Accordingly, this appeal is dismissed.



       PER CURIAM

Do Not Publish



































 




